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 4
     Attorney for CLARISA ANG
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-318
 8
                     Plaintiff,       )
 9
                                      ) STIPULATION AND
          v.                          ) ORDER TO CONTINUE SURRENDER
10                                    ) DATE FOR CLARISA ANG
     CLARISA ANG,                     )
11                                    )
12
                     Defendant.       )
     ================================) Judge: Hon. Morrison C. England, Jr.
13
            It is hereby stipulated between the parties, Assistant United States Attorney Matthew
14

15
     Yelovich, and Michael Long, attorney for CLARISA ANG, that CLARISA ANG’s presently set

16   surrender date of May 1, 2015, should be continued until November 1, 2015. Defendant proffers
17   the following information:
18
            (1) The requested modification of her turn-in date is due to the continuing deteriorating
19
     health of her husband and co-defendant Cris Ang. The Angs have provided up-to-date medical
20
     documentation to the parties concerning Mr. Ang’s recent surgeries and treatment. The court
21

22   addressed Mr. Ang’s request for a modification of his own sentence due to the same health concerns

23   (See ECF documents 387, 388, 389 and 391). Mrs. Ang is still employed by the California
24
     Department of Motor Vehicles (DMV) and her employment provides medical coverage for both her
25
     and Mr. Ang. Due to the failing health of Mr. Cris Ang, he is no longer able to be employed or
26
     financially support himself. Mr. Ang is has undergone recent spinal and lupus-related surgeries that
27

28   have cost over $200,000. Each specialty doctor visit for related follow-up appointments cost $350.



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 1   Mr. Ang would not be able to afford the medical care without the DMV insurance. When Mrs. Ang
 2
     surrenders herself she will lose her job and her health coverage will then terminate. If Mrs. Ang is
 3
     no longer employed, Mr. Ang will no longer have any medical coverage and he will not be able to
 4
     pay for any private health care.
 5

 6          (2) Mr. Ang is no longer able to drive a car – his California driver’s license was suspended

 7   due to his health condition. Mrs. Ang drives him to his medical appointments. Mrs. Ang also
 8
     provides in-home health care for Mr. Ang on a day-to-day basis, including monitoring and
 9
     administering his medications.
10
            (3) Clarisa Ang’s own health situation has been deteriorating over the past year. She now
11

12
     suffers from diabetes, which has caused diabetic neuropathy (damage to her nerves due to chronic

13   high blood pressure) and hypertension.
14          Updated medical records for both Cris Ang and Clarisa Ang have been provided to the
15
     United States Attorney’s office concerning the medical problems discussed in this request.
16
            The Government does not oppose the requested continuance.
17

18
            We respectfully request that the court order that the presently set surrender date of May 1,

19   2015, be continued until November 1, 2015, at 12:00 p.m.

20   Dated: April 6, 2015                                 Respectfully submitted,
21
                                                          /s/ Michael D. Long__________
22                                                        MICHAEL D. LONG
                                                          Attorney for Clarisa Ang
23
     Dated: April 6, 2015                                 BENJAMIN WAGNER
24
                                                          United States Attorney
25
                                                          /s/ Matthew Yelovich____
26                                                        MATTHEW YELOVICH
                                                          Assistant U.S. Attorney
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 6
     THE UNITED STATES OF AMERICA,               ) No. CR-S-08-318
 7                   Plaintiff,                  )
                                                 ) ORDER
 8
            v.                                   )
 9
                                                 )
     CLARISA ANG,                                )
10                                               ) Judge: Hon. Morrison C. England, Jr.
                     Defendant.                  )
11   ================================)
12
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
13
     Bureau of Prisons surrender date for CLARISA ANG, presently set for May 1, 2015, at FCI-Dublin
14
     be continued to November 1, 2015, at 12:00 p.m. at FCI-Dublin.
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            IT IS SO ORDERED.
16   Dated: April 9, 2015
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